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                                               October 10, 2024


VIA CM/ECF

 The Honorable Eric C. Tostrud
 United States District Court
 316 N. Robert Street
 St. Paul, MN 55101

Re:    Minnesota Chamber of Commerce v. John Choi, et al.
       United States District Court, Case No. 23-cv-02015 (ECT/JFD)

Dear Judge Tostrud:

      I write to make Your Honor and the parties aware of a decision issued by the Sixth Circuit
two days ago that addresses similar principles as this case and that I may refer to during oral
argument next week: OPAWL - Bldg. AAPI Feminist Leadership v. Yost, No. 24-3768, 2024 WL
4441458 (6th Cir. Oct. 8, 2024) (attached).


                                                        Sincerely,

                                                        s/ Janine Kimble

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OPAWL - Building AAPI Feminist Leadership v. Yost, --- F.4th ---- (2024)




                                                                United States District Court for the Southern District of
                    2024 WL 4441458
                                                                Ohio at Columbus. No. 2:24-cv-03495—Michael H. Watson,
      Only the Westlaw citation is currently available.
                                                                District Judge.
       United States Court of Appeals, Sixth Circuit.
                                                                Attorneys and Law Firms
        OPAWL - BUILDING AAPI FEMINIST
        LEADERSHIP; Northeast Ohio Coalition                    ON MOTION AND REPLY: T. Elliot Gaiser, Michael
        for the Homeless; Elisa Bredendiek; Peter               J. Hendershot, OFFICE OF THE OHIO ATTORNEY
       Quilligan; John Gerrath, Plaintiffs-Appellees,           GENERAL, Columbus, Ohio, for Appellants. ON
                            v.                                  RESPONSE: Elisabeth C. Frost, Jyoti Jasrasaria, Melinda
                                                                K. Johnson, ELIAS LAW GROUP LLP, Washington,
   Dave YOST, in his official capacity as Ohio Attorney
                                                                D.C., C. Benjamin Cooper, Kaela King, COOPER
     General; Frank Larose, in his official capacity as
                                                                ELLIOTT, Columbus, Ohio, for Appellees. ON BRIEF:
     Ohio Secretary of State, Defendants-Appellants.
                                                                Jason Walta, Philip A. Hostak, NATIONAL EDUCATION
                        Nos. 24-3768                            ASSOCIATION, Washington, D.C., Nathan Johnson, THE
                              |                                 OHIO ENVIRONMENTAL COUNCIL, Columbus, Ohio,
              Decided and Filed: October 8, 2024                for Amici Curiae.

Synopsis                                                        Before: McKEAGUE, THAPAR, and DAVIS, Circuit Judges.
Background: Nonprofit advocacy organizations, lawful
permanent residents (LPR), and LPR's citizen spouse brought
action alleging that Ohio statute restricting noncitizen        THAPAR, J., delivered the opinion of the court in which
political spending violated their First Amendment free speech   McKEAGUE, J., joined. DAVIS, J. (pp. –––– – ––––),
and associational rights. The United States District Court      delivered a separate dissenting opinion.
for the Southern District of Ohio, Michael H. Watson, J.,
2024 WL 4099499, granted in part plaintiffs' motion for                                   OPINION
preliminary injunction, and state appealed. State moved for
stay pending appeal.                                            THAPAR, Circuit Judge.

                                                                 *1 Ohio passed a law to stop foreign money from
                                                                influencing its elections. The law bans foreign nationals from
Holdings: The Court of Appeals, Thapar, Circuit Judge, held     spending money to support or defeat ballot initiatives. It also
that:                                                           bans foreign nationals from contributing to candidates in state
                                                                elections.
state was likely to succeed on merits of its appeal;
                                                                After plaintiffs brought a First Amendment challenge, the
state faced irreparable harm in absence of stay; and            district court found that Ohio's law violates the rights of
                                                                lawful permanent residents. The district court preliminarily
balance of equities and public interest favored issuance of     enjoined Ohio from enforcing its new campaign finance law
stay.                                                           with respect to all foreign nationals. Ohio appealed the district
                                                                court's decision. It also asked us for an emergency stay of the
                                                                district court's order so that Ohio can enforce its law while we
Motion granted.
                                                                consider the merits of the appeal. Because our initial review
                                                                suggests that the district court's First Amendment analysis
Davis, Circuit Judge, dissented and filed opinion.
                                                                was flawed, we now grant Ohio's motion for a stay of the
                                                                district court's order.
Procedural Posture(s): Motion for Stay.

On Motion for Stay Pending Appeal.




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                                                                     *2 Soon after Ohio enacted § 121, various plaintiffs
                                                                    challenged the law in federal district court on First
                               I.
                                                                    Amendment grounds. They sought declaratory and injunctive
After a referendum in 2023, Ohio became concerned that              relief. The plaintiffs are (a) two advocacy organizations who
foreign money was pouring into its elections. Mot. for Stay         assert that they receive funding from non-citizens; (b) two
at 3. So earlier this year, Ohio passed a law (“Section             non-citizen lawful permanent residents; and (c) a United
121”) scheduled to take effect on September 1 banning               States citizen who is married to one of the non-citizen
“foreign nationals” from making political expenditures or           plaintiffs and fears that contributing from the family's joint
contributions “in support of or opposition to a candidate for       bank account would expose him to criminal liability.
any elective office.” Ohio Rev. Code Ann. § 3517.121(B)(1).
The law also bans expenditures and contributions “in support        The district court acknowledged that § 121 is constitutional
of or opposition to a statewide ballot issue or question.” Id.      as applied to foreign citizens who aren't lawful permanent
§ 3517.121(B)(2).                                                   residents. Yet it preliminarily enjoined Ohio from enforcing
                                                                    § 121 as to all “foreign national individuals,” on the
Section 121 defines “foreign national” to mean, in part,            ground that the law violated the First Amendment rights of
“an individual who is not a United States citizen or                lawful permanent residents. R. 32, Pg. ID 1141. The court
national.” Id. § 3517.121(A)(2)(a). And under Ohio law,             permitted Ohio to enforce the remainder of the law, including
a “contribution” is a transfer of “anything of value”               prohibitions on spending by foreign governments or political
to a third party when that transfer is “made, received,             parties. See Ohio Rev. Code Ann. § 3517.121(A)(2)(b)–(d).
or used for the purpose of influencing the results of               In so doing, the court severed the definition of “an individual
an election.” Id. § 3517.01(A)(5). Payments made to                 who is not a United States citizen or national” from § 121's
produce or air electioneering communications don't count            definition of “foreign national.” R. 32, Pg. ID 1189–90.
as contributions. Id. § 3517.01(A)(5)(e). An “expenditure”
is a “disbursement or use of a contribution for the purpose         Ohio immediately appealed the preliminary injunction and
of influencing” election results, or a “charitable donation”        asked the district court for a stay, which it denied. One day
under § 3517.08(G). Id. § 3517.01(A)(6). An “independent            later, Ohio petitioned the Sixth Circuit for a stay of the
expenditure” is “an expenditure by a person advocating the          preliminary injunction. We set an expedited briefing schedule
election or defeat of an identified candidate or candidates, that   and administratively stayed the district court's injunction.
is not made with the consent of, in coordination, cooperation,      Ohio's stay petition is now before us.
or consultation with, or at the request or suggestion of any
candidate or candidates or of the campaign committee or
agent of the candidate or candidates.” Id. § 3517.01(A)(17).                                       II.

Ohio is not alone in its concern about foreign influence on         Ohio's application for a stay of the district court's injunction
elections. The Federal Election Campaign Act (“FECA”)               pending appeal requires us to weigh four factors: “(1) whether
also prohibits contributions and expenditures by foreign            the stay applicant has made a strong showing that he is likely
nationals. See 52 U.S.C. § 30121(a)(1). But as the district         to succeed on the merits; (2) whether the applicant will be
court noted, Section 121 differs from FECA in two relevant          irreparably injured absent a stay; (3) whether issuance of the
ways. First, Ohio's definition of “foreign national” includes       stay will substantially injure the other parties interested in the
lawful permanent residents. See Ohio Rev. Code Ann. §               proceeding; and (4) where the public interest lies.” Nken v.
3517.121(A)(2)(a). But FECA exempts lawful permanent                Holder, 556 U.S. 418, 434, 129 S.Ct. 1749, 173 L.Ed.2d 550
residents from its prohibitions. See 52 U.S.C. § 30121(b)(2).       (2009).
Second, Section 121 prohibits contributions and expenditures
related to ballot initiatives. See Ohio Rev. Code. Ann. §           Notably, there is “substantial overlap” between the four
3517.121(B)(2). FECA, on the other hand, applies only to            factors governing the grant of a stay and the factors governing
contributions and expenditures related to candidate elections.      the initial grant of a preliminary injunction. Id. (citing Winter
See 52 U.S.C. § 30121(a)(1)(A).                                     v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24, 129 S.Ct.
                                                                    365, 172 L.Ed.2d 249 (2008)). But these two tests are “not ...
                                                                    one and the same.” Id. If we were asked to enjoin § 121 in



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the first instance, we would require “a significantly higher        merits. Contrary to the district court's preliminary injunction
justification” than if we were merely staying an injunction.        analysis, Section 121 is not overbroad or otherwise facially
Respect Maine PAC v. McKee, 562 U.S. 996, 996, 131 S.Ct.            invalid.
445, 178 L.Ed.2d 346 (2010) (quoting Ohio Citizens for
Responsible Energy, Inc. v. Nuclear Regul. Comm'n, 479 U.S.
1312, 1313, 107 S.Ct. 682, 93 L.Ed.2d 692 (1986) (Scalia, J.,
                                                                                                    i.
in chambers)). Why? Because by granting a stay, we halt the
district court's own “judicial alteration of the status quo.” Id.   Plaintiffs claim that § 121 is overbroad. The district court
By contrast, to issue an injunction after the lower court had       agreed. It didn't dispute that § 121 is constitutional as applied
refused, we would “grant[ ] judicial intervention that has been     to non-citizens who aren't lawful permanent residents. After
withheld” by a lower court. Id. Therefore, a party seeking          all, FECA already restricts the campaign spending of non-
a stay on appeal faces a lower burden than one seeking an           citizens who aren't lawful permanent residents—and those
injunction on appeal.                                               restrictions have been upheld. See Bluman v. Fed. Election
                                                                    Comm'n, 800 F. Supp. 2d 281 (D.D.C. 2011) (Kavanaugh, J.),
                                                                    aff'd, 565 U.S. 1104, 132 S.Ct. 1087, 181 L.Ed.2d 726 (2012).
                               A.                                   But the district court reasoned that § 121 was “overbroad
                                                                    insofar as it sweeps in [lawful permanent residents] and those
Before we get to the Nken analysis, we must address whether         who receive money from them.” R. 32, Pg. ID 1188.
the Purcell principle applies. See Purcell v. Gonzalez, 549
U.S. 1, 127 S.Ct. 5, 166 L.Ed.2d 1 (2006) (per curiam).             But even if the inclusion of lawful permanent residents
Purcell teaches that federal courts must not alter election         in § 121 violates the First Amendment (it doesn't), that
rules on the eve of an election. Id. But here, the district         wouldn't make § 121 overbroad. In the First Amendment
court enjoined Ohio's law just two months before the 2024           context, a successful overbreadth challenge requires the
November election. To be sure, courts have split on whether         plaintiff to prove that the statute is substantially overbroad
Purcell applies in the campaign finance context. Compare            “relative to [its] plainly legitimate sweep.” United States
Lair v. Bullock, 697 F.3d 1200, 1202, 1214 (9th Cir. 2012),         v. Williams, 553 U.S. 285, 292, 128 S.Ct. 1830, 170
with Chancey v. Illinois State Bd. of Elections, 635 F. Supp. 3d    L.Ed.2d 650 (2008). “Invalidation for overbreadth is strong
627, 644–45 (N.D. Ill. 2022). But there are strong arguments        medicine that is not to be casually employed.” Id. at 293,
that it should. Campaign finance rules are key to the               128 S.Ct. 1830 (citation omitted) (cleaned up). The district
legal landscape that shapes our political contests. Campaign        court proved too ready to administer this strong medicine.
finance law affects who can speak, how much they can speak,         Lawful permanent residents comprise less than a quarter
and what they can speak about. That speech influences who           of the foreign-born population in the United States. See
and what is on the ballot—and voters’ opinions about the            Mohamad Moslimani & Jeffrey S. Passel, What the data
candidates and the issues. Section 121's restrictions thus form     says about immigrants in the U.S., Pew Rsch. Ctr. (July 22,
part of a “delicate campaign contribution equilibrium leading       2024), https://www.pewresearch.org/short-reads/2024/07/22/
up to [Ohio's] imminent election.” Lair, 697 F.3d at 1203–04.       key-findings-about-us-immigrants. And Ohio's contribution
                                                                    and expenditure bans extend to all non-citizens, not only those
 *3 Ultimately, however, we don't need to resolve whether           non-citizens who happen to be present on American soil.
Purcell’s admonition applies to federal-court injunctions of        Therefore, the 11 million lawful permanent residents make up
campaign-finance regulations, since we conclude that Ohio is        only about .14% of the people covered by the law. Cf. U.S.
entitled to a stay regardless. 1                                    and World Population Clock, U.S. Census Bureau, https://
                                                                    www.census.gov/popclock/world. If only .14% of a law's
                                                                    applications are unconstitutional, the law is not substantially
                                                                    overbroad in relation to its plainly legitimate sweep.
                               B.
                                                                     *4 To be sure, contributions and expenditures are speech,
We now turn to likelihood of success on the merits. In the
                                                                    and overbreadth doctrine focuses on how much protected
context of First Amendment emergency motions, the merits
                                                                    speech a law restricts. Of course, the district court did not rely
analysis is often dispositive. See Fischer v. Thomas, 52 F.4th
                                                                    on this type of theory—and for good reason. The plaintiffs
303, 307 (6th Cir. 2022). Here, Ohio is likely to succeed on the


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never presented evidence that lawful permanent residents          Ohio, for its part, contends that there's no need to subject
spend significantly more money on Ohio elections than other       § 121 to First Amendment scrutiny because “noncitizens do
categories of foreign nationals. And the burden lies with the     not have a constitutional right to participate in the machinery
plaintiffs to show that § 121 sweeps too broadly. See Virginia    of voting in the first instance.” Mot. for Stay at 12. That's
v. Hicks, 539 U.S. 113, 122, 123 S.Ct. 2191, 156 L.Ed.2d          true. See Bluman, 800 F. Supp. 2d at 287–88. But it doesn't
148 (2003). Since the plaintiffs haven't met that burden, their   alter Supreme Court precedent holding that noncitizens like
overbreadth challenge fails.                                      lawful permanent residents enjoy First Amendment rights.
                                                                  See Wixon, 326 U.S. at 148, 65 S.Ct. 1443.

                                                                  (2) What tier of scrutiny should apply to § 121?
                              ii.
                                                                  Political expenditures and contributions are “acts of
Plaintiffs also argue the law is facially invalid because it      political expression and association protected by the First
unconstitutionally restricts the political speech of lawful       Amendment.” Bluman, 800 F. Supp. 2d at 285. So presumably
permanent residents. To assess that claim, we must answer         we'd apply the traditional tiers of scrutiny to the campaign
three questions: (1) Do lawful permanent residents have First     finance regulations at issue: Expenditure limits trigger
Amendment rights to begin with? (2) If they do, and if § 121      strict scrutiny, while contribution limits trigger a form of
implicates those rights, what tier of scrutiny applies? (3) And   intermediate scrutiny. McCutcheon v. Fed. Election Comm'n,
does § 121 satisfy the applicable tier(s) of scrutiny?            572 U.S. 185, 197, 134 S.Ct. 1434, 188 L.Ed.2d 468 (2014).
                                                                  But § 121 regulates the speech of foreigners with regard
(1) Lawful permanent residents have First Amendment rights.       to the processes of self-government. Foreigners fall outside
The Supreme Court has long held that “[f]reedom of speech         the community that's entitled to participate in the democratic
and of press is accorded aliens residing in this country.”        process. See Bluman, 800 F. Supp. 2d at 287. That suggests
Bridges v. Wixon, 326 U.S. 135, 148, 65 S.Ct. 1443, 89 L.Ed.      that a lesser level of scrutiny could apply to § 121 than with
2103 (1945). To be sure, more recent precedent construing         traditional campaign finance regulations.
references to “the people” in the Bill of Rights—including
in the First Amendment, see U.S. Const. amend. I, cl. 3—           *5 However, we decline to resolve what tier of scrutiny
hasn't been so categorical. The Supreme Court has suggested       applies, because § 121 passes muster even under the regular
“that ‘the people’ protected by the Fourth Amendment, and         forms of scrutiny for campaign finance regulations. See id.
by the First and Second Amendments ... refers to a class of       at 285. Thus, we may assume for the sake of argument that
persons who are part of a national community or who have          Ohio's ban on expenditures by foreign nationals, including
otherwise developed sufficient connection with this country       lawful permanent residents, is subject to strict scrutiny.
to be considered part of that community.” United States           Likewise, we will assume that § 121's restrictions on
v. Verdugo-Urquidez, 494 U.S. 259, 265, 110 S.Ct. 1056,           contributions must withstand Buckley’s form of intermediate
108 L.Ed.2d 222 (1990). Lawful permanent residents aren't         scrutiny. Under that test, Ohio must “demonstrate[ ] a
citizens. But they have developed sufficient connections with     sufficiently important interest and employ[ ] means closely
the United States to be considered a part of the national         drawn to avoid unnecessary abridgement of associational
community: They live and work here lawfully, and they can         freedoms.” Buckley, 424 U.S. at 25, 96 S.Ct. 612. Section 121
serve in the military. See Bluman, 800 F. Supp. 2d at 291;        passes both tests.
cf. 50 U.S.C. § 1801(i) (explaining that lawful permanent
residents are included in “United States persons”).               (3) To withstand strict scrutiny, a law must be “narrowly
                                                                  tailored to serve a compelling interest.” Williams-Yulee v. Fla.
Here, Section 121 regulates the expressive activity and           Bar, 575 U.S. 433, 442, 135 S.Ct. 1656, 191 L.Ed.2d 570
associational freedoms of lawful permanent residents              (2015). Strict scrutiny is “a demanding and rarely satisfied
because it regulates their campaign-related expenditures and      standard.” S. Bay United Pentecostal Church v. Newsom,
contributions. See Buckley v. Valeo, 424 U.S. 1, 16–23, 96        ––– U.S. ––––, 141 S. Ct. 716, 718, 209 L.Ed.2d 22 (2021)
S.Ct. 612, 46 L.Ed.2d 659 (1976). Because lawful permanent        (statement of Gorsuch, J.). But it's not “fatal in fact.’ ”
residents have First Amendment rights, Section 121 triggers       Adarand Constructors, Inc. v. Pena, 515 U.S. 200, 237, 115
First Amendment scrutiny.                                         S.Ct. 2097, 132 L.Ed.2d 158 (1995). Indeed, the Court has
                                                                  repeatedly upheld laws after subjecting them to strict scrutiny,



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including in the campaign-finance context. See Williams-         Fed. Election Comm'n, 558 U.S. 310, 423, 130 S.Ct. 876,
Yulee, 575 U.S. at 444, 135 S.Ct. 1656 (collecting cases).       175 L.Ed.2d 753 (2010) (Stevens, J., concurring in part
Here, Ohio's expenditure limits clear this high bar.             and dissenting in part). For this very same reason, courts
                                                                 have upheld large-donor disclosure requirements because, in
                              *                                  part, they help “ensure that foreign nationals ... do not seek
                                                                 to influence United States’ elections.” Indep. Inst. v. Fed.
What “compelling interest” does Ohio assert? “[P]reventing       Election Comm'n, 216 F. Supp. 3d 176, 191 (D.D.C. 2016),
noncitizens from pouring money into Ohio's elections.” Mot.      aff'd, 580 U.S. 1157, 137 S.Ct. 1204, 197 L.Ed.2d 243 (2017);
for Stay at 15–16. That's a compelling interest—and the          see also SpeechNow.org v. Fed. Election Comm'n, 599 F.3d
court below acknowledged as much. As the Bluman court            686, 698 (D.C. Cir. 2010).
held, the government has a compelling interest “in preventing
foreign influence over U.S. elections.” 800 F. Supp. 2d at 288    *6 Plaintiffs, for their part, take issue with the fact that
n.3. That conclusion is unsurprising: The Supreme Court has      § 121 extends to advocacy surrounding ballot initiatives.
repeatedly instructed that states have significant leeway in     They argue that spending related to ballot issues falls
protecting their democratic processes from the influence of      outside democratic self-government. But, as the district court
noncitizens.                                                     concluded, advocacy around ballot initiatives is even more
                                                                 connected to the democratic process than advocacy for or
Indeed, the “exclusion of aliens from basic governmental         against a candidate. Ballot initiatives are the quintessential
processes is not a deficiency in the democratic system           form of direct democracy. Indeed, the Ohio Supreme Court
but a necessary consequence of the community's process           has referred to Ohio's initiative process as “precious and
of self-definition.” Cabell v. Chavez-Salido, 454 U.S. 432,      fundamental.” City of Middletown v. Ferguson, 25 Ohio St.3d
439, 102 S.Ct. 735, 70 L.Ed.2d 677 (1982). States can            71, 495 N.E.2d 380, 388 n.4 (1986).
prevent non-citizens from serving as probation officers, see
id., or teaching in public schools, see Ambach v. Norwick,       Ohio's compelling interest in preventing foreign influence
441 U.S. 68, 99 S.Ct. 1589, 60 L.Ed.2d 49 (1979). Why?           over its elections encompasses the influence of lawful
Because the “distinction between citizens and aliens, though     permanent residents. Discussing who the government can
ordinarily irrelevant to private activity, is fundamental to     exclude from the processes of self-government, the Supreme
the definition and government of a State.” Id. at 75, 99         Court has drawn the relevant distinction between citizens
S.Ct. 1589. “It is because of this special significance of       and non-citizens. Cabell, for example, distinguished between
citizenship that governmental entities, when exercising the      “aliens” and United States citizens, 454 U.S. at 439, 102 S.Ct.
functions of government, have wider latitude in limiting the     735, and Ambach focused on “noncitizens,” 441 U.S. at 75,
participation of noncitizens.” Id. So, excluding non-citizens    99 S.Ct. 1589. Lawful permanent residents fall on the non-
from certain activities can advance a compelling interest when   citizen side of that dividing line.
those activities form part of the “the process of democratic
self-government.” Bluman, 800 F. Supp. 2d at 287.                Bluman supports this reading. It focused on the exclusion of
                                                                 “foreign citizens” from the democratic process. 800 F. Supp.
Campaign contributions and independent expenditures are          2d at 287. And the statute at issue served “the compelling
part of our process of democratic self-government. Under         interest of limiting the participation of non-Americans in
Supreme Court precedent, the activities of self-government       the activities of democratic self-government.” Id. at 290
“include functions as unrelated to the electoral process as      (emphasis in original). The compelling interest identified
teaching in public schools and serving as police and probation   by the Supreme Court amounts to preventing influence by
officers.” Id. at 288 (citations omitted). “[S]pending money     all those without American citizenship, including lawful
to influence voters and finance campaigns is at least as         permanent residents, over America's “process of democratic
(and probably far more) closely related to democratic self-      self-government.” Bernal v. Fainter, 467 U.S. 216, 220, 104
government than serving as a probation officer or public         S.Ct. 2312, 81 L.Ed.2d 175 (1984).
schoolteacher.” Id. at 288–89. It's thus unsurprising that the
dissenters in Citizens United emphasized that the Court has      The district court cited several features of lawful permanent
“never cast doubt on laws that place special restrictions on     residents that distinguish them from other non-citizens:
campaign spending by foreign nationals.” Citizens United v.      indefinite residency in the United States, ability to serve



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in the military, registration with the Selective Service, and    the Selective Service doesn't detract from Ohio's compelling
payment of income taxes. But none of these aspects of lawful     interest in preventing foreign influence in its elections.
permanent residency alters our analysis.
                                                                 In sum, the Supreme Court's approval of excluding foreigners
Indefinite residency is a privilege given to lawful permanent    from the process of self-government applies with full force
residents by the United States government. Indeed, the           to Ohio's restrictions on lawful permanent residents’ political
Supreme Court has observed that “protract[ing] this              spending. “The statute does not serve a compelling interest
ambiguous status within the country is not [an alien's] right    in limiting the participation of nonvoters in the activities of
but is a matter of permission and tolerance.” Harisiades v.      democratic self-government; it serves the compelling interest
Shaughnessy, 342 U.S. 580, 586–87, 72 S.Ct. 512, 96 L.Ed.        of limiting the participation of non-Americans in the activities
586 (1952). In other words, the United States government         of democratic self-government.” Bluman, 800 F. Supp. 2d at
decided to give lawful permanent residents the privilege of      290 (emphasis in original). By definition, lawful permanent
indefinite residency. That decision by the federal government    residents are not American citizens. Therefore, we have no
doesn't bear on Ohio's compelling interest in safeguarding its   trouble concluding that Ohio has a compelling interest in
elections from foreign influence.                                preventing foreign influence in its elections and that Ohio's
                                                                 interest extends to preventing independent expenditures by
To be sure, permitting military service for lawful permanent     non-citizens.
residents conveys a high degree of trust. See 32 C.F.R. §
66.6(b)(2)(i). But Congress’ determination that certain lawful   Lower court precedent invalidating state campaign finance
permanent residents may serve in the military has no bearing     laws restricting the political speech of citizens from other
on their constitutional status for purposes of campaign          states isn't to the contrary. Unlike § 121, since those laws
finance regulations. Indeed, the Constitution explicitly gives   involve citizens, they must advance a permissible anti-quid
Congress the power to “provide for organizing, arming,           pro quo corruption interest. See Fed. Election Comm'n v.
and disciplining, the Militia.” U.S. Const. Art. I, § 8, cl.     Cruz, 596 U.S. 289, 305, 142 S.Ct. 1638, 212 L.Ed.2d 654
16. Moreover, Congress didn't give all lawful permanent          (2022). Usually, those cases involve states trying to prevent
residents the right to serve. Rather, the Department of          citizens from other states influencing their elections. That isn't
Defense has implemented extensive procedures to screen           permissible since it doesn't go to quid pro quo corruption. See
lawful permanent residents before they can join the military.    Thompson v. Hebdon, 7 F.4th 811, 824–27 (9th Cir. 2021).
See DoD Announces Policy Changes to Lawful Permanent             But the fact that Alaska's restrictions on the political spending
Residents and the Military Accessions Vital to the National      of Texans fail to advance a legitimate anti-corruption interest
Interest (MAVNI) Pilot Program, U.S. Dep't of Defense (Oct.      says nothing about whether Ohio's restrictions on the political
13, 2017), https://www.defense.gov/News/Releases/Release/        spending of Russian citizens fail to advance an independently
Article/1342317/dod-announces-policy-changes-to-lawful-          legitimate interest in guarding against foreign influence over
permanent-residents-and-the-military-acc/.       No       such   U.S. elections. See Bluman, 800 F. Supp. 2d at 288 n.3.
screening process guards against the money expended by
lawful permanent residents that sloshes around in Ohio                                          **
elections. Ohio's new law provides one.
                                                                 Next, we ask whether Ohio's independent expenditure limits
 *7 Further, the fact that some lawful permanent residents       are narrowly tailored to its compelling interest. The court
must register for the Selective Service and pay income taxes     below upheld Ohio's ban on expenditures by foreign nationals
doesn't affect Ohio's compelling interest. Lawful permanent      who aren't lawful permanent residents. But the district court
residents’ duties to pay taxes and register for the Selective    concluded that the law's ban on expenditures by lawful
Service are part and parcel of the bargain they've struck with   permanent residents fails narrow tailoring. We disagree.
the United States to remain here. They enjoy the unrivaled       Section 121 advances Ohio's interest in guarding against
benefits of United States residency, including many of the       foreign influence as applied to lawful permanent residents
protections of the Bill of Rights. What's more, all foreign      and is backed by sufficient evidence. And it's neither
citizens working in the United States must pay taxes. And        overinclusive nor underinclusive.
the fact that lawful permanent residents must register for




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Ohio has demonstrated a sufficient evidentiary link between          Ohio couldn't detect the individual sources of foreign money
its restriction on the political speech of lawful permanent          because the recipient organizations spending the money “did
residents and its compelling interest in preventing foreign          not need to report the identity of their donors.” Katz Decl.,
influence in elections. To satisfy the narrow tailoring              R. 29-3, Pg. ID 1094. This created an “untraceable influx of
requirement of strict scrutiny, “[t]here must be a direct causal     foreign money meant to influence the outcome of American
link between the restriction imposed and the injury to be            political processes.” Id. This money may have been flowing
prevented.” R. 32, Pg. ID 1178 (quoting United States v.             from lawful permanent residents; it may not have. Ohio
Alvarez, 567 U.S. 709, 725, 132 S.Ct. 2537, 183 L.Ed.2d 574          couldn't tell.
(2012)). But the “quantum of empirical evidence needed to
satisfy heightened judicial scrutiny of legislative judgments        Stuck between a rock and a hard place, Ohio opted to
will vary up or down with the novelty and plausibility of the        draw “bright lines to prevent foreign-national participation in
justification raised.” Nixon v. Shrink Missouri Gov't PAC, 528       Ohio's self-government processes.” Id. at 1095. By including
U.S. 377, 391, 120 S.Ct. 897, 145 L.Ed.2d 886 (2000).                lawful permanent residents, Ohio sought to apply “its
                                                                     definition of foreign national comprehensively ... to all non-
 *8 Ohio's justification for § 121 is neither novel nor              citizens” and to be “clear about its reach.” Id. (emphasis in
implausible. Worries about foreign influence in American             original). Ohio had good reason to include lawful permanent
politics date back to the Founding. See, e.g., George                residents within its regulatory purview.
Washington, Farewell Address (Sept. 17, 1796), in 1 A
Compilation of the Messages and Papers of the Presidents,            Further, Ohio has provided enough evidence of the law's
1789-1907, at 214 (James D. Richardson ed., 1908) (worrying          necessity given the leeway states enjoy in addressing potential
about “foreign influence” that “tamper[s] with domestic              interference in their elections. The Supreme Court has noted
factions”). And the prohibition on foreign contributions to          that states’ “interest in preserving the integrity of the electoral
political campaigns originated with the amended Foreign              process” is “compelling.” Munro v. Socialist Workers Party,
Agents Registration Act. See Pub. L. No. 89–486, § 8, 80             479 U.S. 189, 194, 107 S.Ct. 533, 93 L.Ed.2d 499 (1986).
Stat. 244, 248–49 (1966). Those restrictions soon became             After all, “protecting public confidence in elections is deeply
part of the Federal Election Campaign Act of 1974. See               important—indeed, critical—to democracy.” Democratic
Pub. L. No. 93–443, § 101(d), 88 Stat. 1263, 1267. Then, in          Exec. Comm. of Fla. v. Lee, 915 F.3d 1312, 1327 (11th Cir.
2002, mounting concerns about foreign financial involvement          2019) (citing Crawford v. Marion Cnty. Election Bd., 553 U.S.
in American elections led to a ban on contributions and              181, 197, 128 S.Ct. 1610, 170 L.Ed.2d 574 (2008) (plurality
expenditures by foreign nationals. See Bipartisan Campaign           opinion)).
Reform Act of 2002, Pub. L. No. 107–155, § 303, 116 Stat.
81, 96.                                                              To this end, we've recognized that “solicitude for state
                                                                     sovereignty regarding elections mitigates the evidentiary
Worries about foreign influence in American elections have           burden a State must satisfy” to clear strict scrutiny. Russell v.
escalated in recent years. As a result, other states have also       Lundergan-Grimes, 784 F.3d 1037, 1053 (6th Cir. 2015). That
sought to restrict the influence of foreigners in their elections.   makes sense: Just as “information can be difficult to obtain
See, e.g., Minn. Stat. Ann. § 211B.15(4a). 2 Likewise,               and the impact of certain conduct difficult to assess” when
Supreme Court cases for over half a century have blessed             making “efforts to confront evolving [foreign] threats,” so
efforts by states to restrict foreign citizens from participating    too is information difficult to gather when making efforts to
in democratic processes. See Bluman, 800 F. Supp. 2d                 preserve election integrity from foreign influence. Holder v.
at 287–88 (collecting cases). In short, Ohio's rationale of          Humanitarian L. Project, 561 U.S. 1, 34, 130 S.Ct. 2705, 177
preventing foreign interference in state elections has a strong      L.Ed.2d 355 (2010). “In this context, conclusions must often
pedigree in American political history, and that fact reduces        be based on informed judgment rather than concrete evidence,
its evidentiary burden under the strict scrutiny analysis.           and that reality affects what we may reasonably insist on from
                                                                     the Government.” Id. at 34–35, 130 S.Ct. 2705.
Given this tradition of government regulation, Ohio has
met its evidentiary burden for purposes of strict scrutiny.           *9 And the Supreme Court has recognized that state laws
Ohio cites ample evidence of foreign money being spent on            advancing foundational yet abstract interests like the public's
statewide elections and referenda. Before § 121's passage,           confidence in its government will rarely rest on hard evidence.



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In upholding a state restriction on the solicitation of campaign    Why? Because doing so would be demanding evidence of
donations by judicial candidates, the Court explained that          the obvious. There's no doubt that Ohio has a valid interest
“[t]he concept of public confidence in judicial integrity does      in preventing non-citizens from influencing its elections,
not ... lend itself to proof by documentary record.” Williams-      and there's no doubt that § 121 advances that interest. The
Yulee, 575 U.S. at 447, 135 S.Ct. 1656. Indeed, the state had       Constitution and common sense aren't enemies. Strict scrutiny
not identified any evidence “that banning requests [by judges]      demands reasons and tightly drawn lines, not official findings
for contributions will substantially improve public trust in        of facts that we already know to be true. 4
judges.” Id. at 466, 135 S.Ct. 1656 (Scalia, J., dissenting). Yet
the state's solicitation ban survived strict scrutiny because a      *10 Just as § 121 doesn't fail narrow tailoring for lack of
“state may assure its people that judges will apply the law         evidentiary support, so too does it satisfy narrow tailoring
without fear or favor—and without having personally asked           with respect to its means-ends fit. To begin with, Section 121
anyone for money.” Id. at 438, 135 S.Ct. 1656 (majority             is not overinclusive since it doesn't restrict more speech than
opinion).                                                           necessary.

So too here: Ohio can take steps to assure its people that          Plaintiffs argue that the law is overinclusive because it's
foreign interests haven't unduly swayed its elections without       “far too sweeping.” Response at 11. They maintain that §
abundant “proof by documentary record.” Id. at 447, 135             121 would proscribe seemingly innocuous conduct, including
S.Ct. 1656. Addressing a widespread perception of foreign           “incidental expenditures for a yard-sign that expresses a view
interference makes “perfect sense.” Nixon, 528 U.S. at              on state or local politics.” Id. at 12 (quoting R. 32, Pg. ID
390, 120 S.Ct. 897. “Leave the perception of impropriety            1182). That's incorrect. Section 121 doesn't bar anyone from
unanswered, and the cynical assumption that [foreign] donors        posting yard-signs. It only applies to the purchase of a yard-
call the tune could jeopardize the willingness of voters to         sign. Thus, this provision plugs a loophole by which a non-
take part in democratic governance.” Id. Thus, contrary to          citizen could, say, buy a yard-sign for $20,000 and circumvent
the district court's finding, Ohio met its burden of linking        Ohio's other spending prohibitions. This prohibition doesn't
spending by lawful permanent residents to preventing foreign        sweep too broadly. Ohio's law still allows homemade yard-
interference in Ohio's elections. 3                                 signs. And it allows a non-citizen to receive a yard-sign and
                                                                    place it on his lawn. At bottom, Ohio set out to prevent foreign
Similarly, to maintain public confidence in fair elections,         influence in state elections by preventing foreign influence in
the Court has permitted states “to respond to potential             state elections. Nothing could be more narrowly tailored.
deficiencies in the electoral process with foresight rather
than reactively.” Munro, 479 U.S. at 195, 107 S.Ct. 533.            The district court also deemed Ohio's restrictions on lawful
For example, the Supreme Court has recognized that because          permanent residents’ political speech overinclusive because §
“[e]lections vary from year to year, and place to place,” it        121 swept in American citizens who share finances with non-
can be “difficult to make specific findings about the effects       citizens. But § 121 doesn't sweep in the speech of citizens
of a voting regulation.” Burson v. Freeman, 504 U.S. 191,           who share finances with noncitizens. Ohio confirmed that
209, 112 S.Ct. 1846, 119 L.Ed.2d 5 (1992). As a result,             the law “does not bar a citizen from making expenditures or
requiring precise proof of those effects “would necessitate         contributions from an account shared with a lawful permanent
that a State's political system sustain some level of damage        resident.” Mot. for Stay at 14. For example, Ohio regulations
before the legislature could take corrective action.” Munro,        treat contributions made from joint accounts as contributions
479 U.S. at 195, 107 S.Ct. 533. So too with a campaign              “by the person signing or endorsing the joint check or other
finance restriction: quantifying the precise effects of non-        written instrument,” “[a]bsent evidence to the contrary.” Id.
citizens’ political expenditures is all but impossible.             (quoting Ohio Admin. Code 111:2-4-14). In short, Ohio has
                                                                    made careful exceptions to § 121 and ensured it does “not
The dissent's demand for more hard evidence misses the              suppress lawful speech as the means to suppress unlawful
point of strict scrutiny's evidentiary hurdles. See Dissent at      speech.” Ashcroft v. Free Speech Coal., 535 U.S. 234, 255,
––––, ––––. We normally demand evidence of the supposed             122 S.Ct. 1389, 152 L.Ed.2d 403 (2002).
problem a law solves and how the law goes about solving
it to ensure that the law isn't suppressing more speech than        Plaintiffs counter that Ohio's administrative code doesn't
necessary. But sometimes we don't need that empirical proof.        alter its campaign finance laws or the Attorney General's



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enforcement authority. True, but irrelevant. Ohio expressly        with a host of state and federal reporting obligations when
conceded that its laws wouldn't apply to a citizen who shares      they solicit donations. See, e.g., Ohio Rev. Code Ann. §§
a bank account with a non-citizen and spends money on              109.31, 1716.05, 4117.19; 26 U.S.C. § 6033(b).
a political campaign from the shared account. Ohio would
be judicially estopped from enforcing § 121 under those            Amici also express concerns about the costs of unverified
circumstances. See New Hampshire v. Maine, 532 U.S. 742,           complaints and mandatory investigation by the Attorney
745, 121 S.Ct. 1808, 149 L.Ed.2d 968 (2001).                       General. See Ohio Rev. Code Ann. § 3517.121(G)(1), (2); see
                                                                   also Ohio Env't Council Br. at 12–13. But a private party's
The same goes for Ohio's regulation of ballot advocacy             abuse of a law doesn't make the law unconstitutional, just
along with advocacy for or against a candidate. FECA only          as a prank 911 call doesn't make an emergency response
prohibited the latter. But FECA's limited scope doesn't render     unlawful. And Ohio would bear the costs of investigating
Ohio's law overinclusive. In fact, FECA was challenged             and responding to frivolous complaints just as much as amici
as underinclusive for not covering ballot advocacy. See            would.
Bluman, 800 F. Supp. 2d at 290–91. Overinclusive if you
do, underinclusive if you don't. The First Amendment doesn't       Similarly, Ohio's restriction on lawful permanent residents’
create that dilemma.                                               ability to make independent expenditures isn't underinclusive.
                                                                   In concluding otherwise, the district court was right on the law
Nor is § 121 overinclusive because it extends to lawful            and wrong on its application. “[U]nderinclusiveness can raise
permanent residents in the first place. Indeed, Congress has       doubts about whether the government is in fact pursuing the
contemplated this extension but never enacted it. See supra        interest it invokes.” R. 32, Pg. ID 1183 (citation and quotation
note 2. From this, the dissent reasons that less burdensome        omitted). A law cannot claim to protect “an interest of the
alternatives exist for advancing Ohio's interest in preventing     highest order,” but then “leave[ ] appreciable damage to that
foreign influence over its elections—namely, a FECA-like           supposedly vital interest unprohibited.” Id. (citation omitted).
regulation that doesn't include lawful permanent residents.
Dissent at ––––. But narrow tailoring in the context of            So why did the district court find § 121 underinclusive?
strict scrutiny only requires the government to use the least      Because § 121 fails to restrain political speech by foreign-
restrictive means that still allow it to achieve its compelling    owned American corporate entities, which purportedly “pose
interest. Strict scrutiny doesn't demand that the government       a much higher risk of undue foreign influence” than lawful
sacrifice its compelling interest. We can't invalidate a           permanent residents. Id. at 1184–85. In response, Ohio points
law because the government could've adopted a different            out that such a ban could run afoul of Supreme Court
approach that advances its compelling interest less effectively.   precedent. Ohio is correct: Citizens United suggested that a
If the goal is to prevent foreign influence, extending the ban     law would be “overbroad” if it restricted corporate speech
to all non-citizens (including lawful permanent residents) is      beyond corporations “that were created in foreign countries
the most effective means of advancing that goal. Congress          or funded predominantly by foreign shareholders.” 558 U.S.
was free to strike a balance that was less comprehensive for       at 362, 130 S.Ct. 876. Any such law might unduly restrict
the sake of advancing other goals, such as honoring lawful         the free speech rights of American citizen shareholders.
permanent residents’ deep ties to the United States. Ohio is       Indeed, a district court recently enjoined a law that restricted
similarly free to strike its own balance; FECA isn't the only      political contributions from “foreign government-influenced”
constitutionally permissible way to counter foreign influence      entities with “5% or more of the total equity” or “other
in American elections.                                             applicable ownership interests” owned by foreigners. Cent.
                                                                   Maine Power Co. v. Maine Comm'n on Governmental Ethics
 *11 Relatedly, amici worry that § 121 forces non-profits          & Election Pracs., ––– F.Supp.3d ––––, ––––, 2024 WL
and unions to implement burdensome measures to segregate           866367, at *2 (D. Me. Feb. 29, 2024) (quoting 21 A.M.R.S.
contributions from foreign nationals to ensure that such           § 1064(2)). Regardless of whether that decision was correct,
donations aren't used for electioneering. See Ohio Educ. Ass'n     Ohio raises a valid point that Citizens United jeopardizes
Br. at 8; Ohio Env't Council Br. at 14. While that may be          potential prohibitions on speech by certain foreign-owned
true, an administrative burden can't overcome Ohio's interest      corporations. Therefore, Ohio's focus on expenditures by
in safeguarding its elections from foreign interference. And as    lawful permanent residents wasn't underinclusive. 5
Ohio points out, nonprofits and unions already must comply



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In sum, Section 121 “serves the compelling interest of              See Deja Vu of Nashville, Inc. v. Metro. Gov't of Nashville &
limiting the participation of non-Americans in the activities of    Davidson Cnty., 274 F.3d 377, 400 (6th Cir. 2001). But it's
democratic self-government. A statute that excludes [lawful         equally in the public interest to give “effect to the will of the
permanent residents] from political spending is therefore           people by enforcing the laws they and their representatives
tailored to achieve that compelling interest.” Bluman, 800          enact,” absent a constitutional issue. Thompson v. Dewine,
F. Supp. 2d at 290 (emphasis omitted). Ohio's restriction on        959 F.3d 804, 812 (6th Cir. 2020) (quotation omitted).
expenditures by lawful permanent residents is justified by a
compelling government interest and is narrowly tailored in                                       ***
pursuing that interest. It survives strict scrutiny.
                                                                    The state of Ohio passed a law restricting the ability of
                           *12 * * *                                foreign nationals to contribute to state campaigns and make
                                                                    independent expenditures related to state ballot initiatives.
All these considerations apply with equal force to Ohio's           Concerns about foreign interference in American politics
contributions ban. Ohio retains its compelling interest in          aren't new. And Ohioans and their representatives have a
preventing foreign influence over its elections, and the            compelling interest in regulating such influence. We can't
contributions ban is “closely drawn” to advance that interest       interfere with their judgment unless the First Amendment
for the same reasons the expenditures ban survives narrow           demands it. And here, it doesn't.
tailoring. Buckley, 424 U.S. at 25, 96 S.Ct. 612. Just as Ohio's
expenditure ban survives strict scrutiny, it follows that its       We accordingly grant Ohio's motion and stay the district
contribution ban withstands Buckley’s lesser form of review         court's injunction.
for contribution regulations.



                               C.                                                             DISSENT

Moving onto the second Nken factor, we conclude that Ohio           DAVIS, Circuit Judge, dissenting.
will be irreparably harmed absent a stay of the injunction.
                                                                    Ohio's § 121 is unlikely to pass constitutional muster applying
The “inability to enforce its duly enacted [law] clearly inflicts
                                                                    either strict or intermediate scrutiny. The state is therefore
irreparable harm on the State.” Abbott v. Perez, 585 U.S.
                                                                    unlikely to prevail on the merits and a stay of the district
579, 602 n.17, 138 S.Ct. 2305, 201 L.Ed.2d 714 (2018).
                                                                    court's grant of injunctive relief is not warranted. For this
At the same time, the “loss of First Amendment freedoms,
                                                                    reason, I disagree with my colleagues and respectfully
for even minimal periods of time, unquestionably constitutes
                                                                    dissent.
irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373, 96
S.Ct. 2673, 49 L.Ed.2d 547 (1976). These competing claims
                                                                    To begin, § 121 distinguishes itself from federal restrictions
to irreparable injury both point back to the importance
                                                                    on campaign contributions and expenditures under the
of the merits inquiry in this context. Cf. Bays v. City of
                                                                    parallel Federal Election Campaign Act (“FECA”) in one
Fairborn, 668 F.3d 814, 819 (6th Cir. 2012) (noting the same
                                                                    constitutionally important way: it defines “foreign national”
in the preliminary injunction context with respect to First
                                                                    more broadly than the term is defined in identical contexts.
Amendment challenges).
                                                                    Unlike FECA, § 121 includes lawful permanent residents
                                                                    (“LPRs”) in its definition of foreign national. Compare
                                                                    52 U.S.C. § 30121(a)(1) with Ohio Rev. Code Ann. §
                               D.                                   3517.121(A)(2)(a). In defining foreign nationals this way, the
                                                                    law directly burdens LPRs's First Amendment rights. And
The third and fourth Nken factors—whether issuing a stay            beyond that, the law implicitly burdens United States citizens
will substantially injure the other parties interested in the       based on certain affiliations with LPRs as well as advocacy
proceeding and where the public interest lies—“merge” when          organizations with LPR members in ways that create uneven
the government is a party. Nken, 556 U.S. at 435, 129 S.Ct.         regulation of speech when compared to corporations.
1749. And again, they hinge on the merits here: It's in the
public interest to prevent violations of constitutional rights.


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 *13 United States citizens and lawful permanent residents
have First Amendment rights. See Bridges v. Wixon, 326 U.S.
                                                                                                      II.
135, 148, 65 S.Ct. 1443, 89 L.Ed. 2103 (1945) (“Freedom
of speech and press is accorded aliens residing in this                The First Amendment provides that “Congress shall make
country.”). And I agree with my colleagues’ observation that           no law ... abridging the freedom of speech.” U.S. Const.
Ohio's statutory regulation of independent expenditures and            amend. 1. That said, even First Amendment rights are not
campaign contributions constitutes a restriction on speech.            absolute. Bd. of Cnty. Comm'rs, Wabaunsee Cnty., Kan. v.
See Buckley v. Valeo, 424 U.S. 1, 16-23, 96 S.Ct. 612, 46              Umbehr, 518 U.S. 668, 675, 116 S.Ct. 2342, 135 L.Ed.2d 843
L.Ed.2d 659 (1976). As such, § 121 necessarily receives First          (1996) (“While protecting First Amendment freedoms, we
Amendment scrutiny. The questions that remain, then, are               have, however, acknowledged that the First Amendment does
what type of scrutiny should apply and whether Ohio has met            not ... guarantee absolute freedom of speech.”). Rather, when
its burden under the appropriate level of scrutiny. The answer         the government passes laws that restrict First Amendment
to the latter question is where I respectfully part ways with          speech rights, courts consider the type of speech restricted,
the majority.                                                          determine the appropriate level of scrutiny to apply, and
                                                                       examine whether the government has met its burden under the
                                                                       appropriate scrutiny. See Satawa v. Macomb Cty. Rd. Comm'n,
                                 I.                                    689 F.3d 506, 517 (6th Cir. 2012).

A stay is an intrusion into the ordinary process of                    Laws that abridge political speech are generally subject
administration and judicial review. Nken v. Holder, 556                to, at least, intermediate scrutiny. See McCutcheon v. Fed.
U.S. 418, 434, 129 S.Ct. 1749, 173 L.Ed.2d 550 (2009). In              Election Comm'n, 572 U.S. 185, 228, 134 S.Ct. 1434, 188
deciding whether to grant Ohio a stay, we must consider                L.Ed.2d 468 (2014) (applying intermediate scrutiny and
“traditional stay factors,” which include: (1) whether the state       recognizing “[p]olitical speech [as] the primary object of First
has made a strong showing of its likelihood of success on the          Amendment protection.”) (Thomas, J., concurring); Buckley,
merits; (2) whether it will experience irreparable harm absent         424 U.S. at 42, 96 S.Ct. 612 (1976) (applying the intermediate
a stay; (3) the prospect that a stay would substantially injure        “closely drawn” test and identifying political expenditures
other interested parties; and (4) the public interest in granting      and contributions as qualifying political speech).
a stay. 1 Id. at 426, 129 S.Ct. 1749. And the district court's
grant of a preliminary injunction is reviewed for an abuse of           *14 The district court determined that § 121 is subject to
discretion. Overstreet v. Lexington-Fayette Urb. Cnty. Gov't,          intermediate scrutiny and that the statute fails that standard.
305 F.3d 566, 573 (6th Cir. 2002). To obtain a stay, Ohio              The majority acknowledges that heightened scrutiny applies
was required to show more than “the mere possibility of                and posits that Ohio likely meets its burden regardless of
success.” Michigan Coal. of Radioactive Material Users, Inc.           whether the court applies strict scrutiny or intermediate
v. Griepentrog, 945 F.2d 150, 153 (6th Cir. 1991).                     scrutiny. I agree that we need not resolve which level
                                                                       of scrutiny applies, but for reasons that differ from the
Ohio argues that it is likely to succeed on the merits because:        majority's; the statute is unlikely to meet either standard.
(1) the state may exclude noncitizens from the mechanics
of democratic self-government; and (2) the preliminary                 Strict scrutiny requires the state to prove that the challenged
injunction is overbroad in that it blocks applications that            law is narrowly tailored to further a compelling government
are constitutional and reaches non-parties. (Doc. 15, Mot.,            interest, and that there are no less restrictive alternatives
8–21). Both arguments fall short, leaving Ohio unlikely to             available. Americans for Prosperity Found. v. Bonta, 594
prevail on the merits. Given the substantial influence we              U.S. 595, 611, 141 S.Ct. 2373, 210 L.Ed.2d 716 (2021), see
typically ascribe to this first factor, a stay is not warranted. See   also Boone Cnty., ––– F.4th at ––––, 2024 WL 4048630, at
Boone Cnty. Republican Party Exec. Comm. v. Wallace, No.               *8 (“When considering whether a regulation or restriction
24-5783, ––– F.4th ––––, ––––, 2024 WL 4048630, at *4 (6th             is narrowly tailored to the interest asserted, we consider
Cir. Sept. 5, 2024) (“[I]n First Amendment cases, the outcome          the availability of less restrictive alternatives.”). Intermediate
generally boils down to the [likelihood of success].”); see also       scrutiny, on the other hand, asks whether the law is closely
Bays v. City of Fairborn, 668 F.3d 814, 819 (6th Cir. 2012).           drawn to further a sufficiently important government interest.
                                                                       McCutcheon, 572 U.S. at 197, 134 S.Ct. 1434. To be clear,



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although the closely drawn standard is more intermediate             may reasonably conclude that lawful permanent residents
scrutiny than it is strict, it is still a “rigorous” review. Id.     of the United States stand in a different relationship to the
at 199, 134 S.Ct. 1434. To meet this burden, Ohio must               American political community than other foreign citizens do
do more than “simply posit the existence of the disease              [because they] have a long-term stake in the flourishing of
sought to be cured ... It must instead point to record evidence      American society [and] share important rights and obligations
or legislative findings demonstrating the need to address a          with citizens.”); McCutcheon, 572 U.S. at 206, 134 S.Ct. 1434
special problem.” FEC v. Cruz, 596 U.S. 289, 307, 142 S.Ct.          (refusing to apply interests that are “far too speculative.”). 2
1638, 212 L.Ed.2d 654 (2022) (cleaned up). And “[b]road
prophylactic rules in the area of free expression are suspect.”
                                                                      *15 This is understandable given LPRs's distinct status. 3
NAACP v. Button, 371 U.S. 415, 438, 83 S.Ct. 328, 9 L.Ed.2d
                                                                     Among other things, their First Amendment protected speech
405 (1963).
                                                                     rights set them apart from other noncitizens and underscore
                                                                     their inclusion in the national community. Compare Bridges,
A. Section 121 Likely Fails Strict Scrutiny and Intermediate         326 U.S. at 148, 65 S.Ct. 1443 (1945) (affirmatively
Scrutiny.                                                            extending First Amendment rights to LPRs), with United
                                                                     States v. Verdugo-Urquidez, 494 U.S. 259, 266, 110 S.Ct.
Government Interest. The district court correctly concluded          1056, 108 L.Ed.2d 222 (1990) (reserving First Amendment
that Ohio has a “compelling interest in limiting the                 protections for “a class of persons who are persons who
participation of foreign citizens in activities of American          are part of a national community or who have otherwise
democratic self-government, and in thereby preventing                developed sufficient connection with this country to be
foreign influence over the U.S. political process.” See Bluman       considered part of that community”) (citing United States ex
v. Fed. Election Comm'n, 800 F. Supp. 2d 281 (D.D.C. 2011)           rel. Turner v. Williams, 194 U.S. 279, 292, 24 S.Ct. 719, 48
(Kavanaugh, J.), aff'd, 565 U.S. 1104, 132 S.Ct. 1087, 181           L.Ed. 979 (1904) (suggesting the exclusion of nonresident
L.Ed.2d 726 (2012). “Just as the Framers of the Constitution         immigrants from First Amendment protections).
intended the states to keep for themselves, as provided in
the Tenth Amendment, the power to regulate elections ...             Indeed, our government has passed and adjudicated laws
each State has the power to prescribe the qualifications of          respecting federal elections that seek to protect the same
its officers and the manner in which they shall be chosen.”          interests Ohio has identified here without implicating LPRs
Sugarman v. Dougall, 413 U.S. 634, 647, 93 S.Ct. 2842,               at all. See, e.g., 52 U.S.C. 30121(b) (excluding United States
37 L.Ed.2d 853 (1973). And with that “historical power,”             citizens and lawfully admitted permanent residents from the
the states’ ability “to exclude aliens from participation in its     definition of foreign national for the purposes of campaign
democratic political institutions [is] part of the sovereign's       contributions); Bluman, 800 F. Supp. 2d at 288; see also
obligation to preserve the basic conception of a political           United States v. Kanchanalak, 192 F.3d 1037, 1048 (D.C. Cir.
community.” Bluman, 800 F. Supp. 2d at 287 (citing Foley v.          1999) (ensuring that “United States citizens and permanent
Connelie, 435 U.S. 291, 295-96, 98 S.Ct. 1067, 55 L.Ed.2d            residents are not conduits for soft money that originates with
287 (1978) (alteration in original)).                                foreign nationals.”) (emphasis added); 11 C.F.R. § 110.20. 4

Sufficient Tailoring to LPRs. Accepting that states possess a        That is because LPRs have a lawful, though conditional, right
general compelling interest in keeping foreign influences out        to live in the United States permanently, and they have a
of their political process, it is unlikely that a full bar against   different relationship with this country than do other groups
protected political speech of the sort restricted by § 121 is        of noncitizens. LPRs share in many of the responsibilities,
sufficiently tailored to serve the general aims of the state's       and the rights, of United States citizens. For instance, LPRs
interest. Schickel v. Dilger, 925 F.3d 858, 870 (6th Cir. 2019)      register for selective service in the United States military,
(holding that having the requisite interest “is not enough;          pay taxes and they can be employed in the United States
[states] must still demonstrate how its [provisions] further[ ]      without any additional paperwork. LPRs can be found in
that interest.”) (internal quotes omitted). Importantly, as          communities small and large where they often work, raise
regards governmental actions undertaken to serve the interest        families, and share in citizens’ desire to support efforts that
of preventing foreign influence in the U.S. political process,       promote the general welfare of the communities in which
LPRs consistently have been treated differently from other           they live. Considering these significant indicia of LPRs's
noncitizens. See Bluman, 800 F. Supp. 2d at 290 (“Congress           enmeshment in their adopted home, it seems doubtful that


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stifling their First Amendment rights to participate in the          protection challenge); Nyquist v. Mauclet, 432 U.S. 1, 97 S.Ct.
very communities where they lawfully reside serves the               2120, 53 L.Ed.2d 63 (1977) (refusing to uphold a state statute
interest of keeping foreign influences out of Ohio elections.        barring noncitizens from certain scholarships in the context of
And notably, as regards the constitutional protection afforded       equal-protection challenge); Foley, 435 U.S. at 300, 98 S.Ct.
contributions for ballot initiatives, the Supreme Court has          1067 (upholding a law barring foreign citizens from serving
observed that “there is no significant state or public interest in   as police officers); Ambach v. Norwick, 441 U.S. 68, 99 S.Ct.
curtailing debate and discussion of a ballot measure.” Citizens      1589, 60 L.Ed.2d 49 (1979) (upholding a law barring foreign
Against Rent Control/Coal. for Fair Hous. v. City of Berkeley,       citizens from teaching in public schools unless they intend
454 U.S. 290, 299, 102 S.Ct. 434, 70 L.Ed.2d 492 (1981)              to apply for citizenship in the context of equal-protection
(juxtaposing limitations on contributions to and expenditures        challenge); Cabell v. Chavez-Salido, 454 U.S. 432, 102 S.Ct.
for specific candidates against similar limitations on ballot        735, 70 L.Ed.2d 677 (1982) (upholding a law barring foreign
initiatives and recognizing that the latter “clearly impairs         citizens from working as probation officers in the context of
freedom of expression”).                                             equal-protection challenge). So, the purported justification, as
                                                                     it relates to LPRs, is rather novel. 6
 *16 Understanding the majority's point that the empirical
evidence required to satisfy heightened scrutiny varies with          *17 Moreover, less burdensome alternatives exist. Boone
the novelty and plausibility of the justification raised, Ohio       Cnty., ––– F.4th at ––––, 2024 WL 4048630, at *8; see
has still failed to meet this burden. Nixon v. Shrink Missouri       also Bonta, 594 U.S. at 611, 141 S.Ct. 2373 (2021). Several
Gov't PAC, 528 U.S. 377, 391, 120 S.Ct. 897, 145 L.Ed.2d 886         examples demonstrate the ill fit between § 121 and the
(2000). Indeed, defining LPRs as foreign nationals worthy            government's purported interest. As earlier noted, the federal
of concern as it relates to protecting elections from foreign        government has found a way to serve its interest in restricting
influence appears to be relatively novel. The examples cited         foreign influence without excluding every iteration of foreign
by the majority do not help. Minnesota's § 211B.15(4)(a)             involvement in campaign finance. Under FECA, LPRs are
does not include LPRs in its definition of “foreign investor.”       generally treated like citizens as it pertains to individual
Minn. Stat. Ann. § 211B.15(4)(e) (providing that a “[f]oreign        political contributions. See e.g., Bluman, 800 F. Supp. 2d at
investor means a person or entity that ... is ... an individual      288; Kanchanalak, 192 F.3d at 1048; 52 U.S.C. 30121(b).
outside of the United States who is not a citizen or national
of the United States and who is not lawfully admitted for            In that same vein, LPRs are one of only two categories
permanent residence in the United States ....”) (emphasis            of individuals allowed to make expenditure- and campaign-
added) (internal quotes omitted). Similarly, the Bipartisan          contribution decisions for domestic corporations with foreign
Campaign Reform Act (BCRA) did not extend its ban on                 parent companies. See Citizens United v. Fed. Election
contributions from foreign entities and nationals to LPRs.           Comm'n, 558 U.S. 310, 365, 130 S.Ct. 876, 175 L.Ed.2d
BCRA Pub. L. No. 107–155, § 303, 116 Stat. 81, 104.                  753 (2010) (permitting the domestic subsidiaries of foreign
(“The committee shall not accept any donation from a foreign         companies to use their treasury funds to express advocacy
national (as defined in section 319(b) of the Federal Election       through expenditures); 11 C.F.R. § 110.20. The majority
Campaign Act of 1971)). 5                                            minimizes the importance of the rights afforded LPR's,
                                                                     such as the opportunity to serve in the military and the
Further, the cases cited by the majority do not implicate            responsibility to pay taxes by pointing out that their military
LPRs in the context of First Amendment speech for                    service is accompanied by additional screening and anyone
political advocacy. See Harisiades v. Shaughnessy, 342               who works in the United States must pay taxes. Majority
U.S. 580, 587-88, 592, 72 S.Ct. 512, 96 L.Ed. 586                    Op. at ––––. But these observations are somewhat beside
(1952) (distinguishing between “advocating change in the             the point; the fact that LPRs share in various rights and
existing order by lawful elective processes” (protected) and         responsibilities with U.S. citizens speaks to the showing of
“advocating change by force and violence” (not protected)            proportionality required to justify the admitted incursion the
in rejecting LPRs's claims of First Amendment protection             law visits upon their First Amendment rights. On that front,
from deportation law); see also Bernal v. Fainter, 467 U.S.          Ohio is unlikely to demonstrate that its addition of LPRs to the
216, 220, 104 S.Ct. 2312, 81 L.Ed.2d 175 (1984) (refusing            definition of foreign nationals is proportional to the interest
to affirm “a wholesale ban against all [lawful permanent             being served.
residents]” from notary positions in the context of equal-



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Domestic Organizations. In addition to § 121's impact on         in the first place, which in turn, implicates the rights of
LPRs, the law also unnecessarily expands First Amendment         organizations to which they belong and contribute. And Ohio
burdens to domestic advocacy organizations and nonprofits.       offers no clear answer to how these organizations, which
Both the district court and the Ohio Education Association       sometimes have less than one percent of their contributions
(“OEA”) responding as amicus curiae point out that the ban       come from foreign interest, pose any greater threat to Ohio
on nonprofit organizations and unions is unconstitutional        elections than corporations with more than one to five
because it unnecessarily restricts the voices of organizations   percent of their ownership composed of foreign interest. 7 For
based on a minimal amount of funding they may receive            tailoring purposes, the answer to this question is meaningful.
from the relatively small portion of its membership comprised    Dismissing the issue as simply a conundrum says nothing
of LPRs and other noncitizens. As written, § 121 would           about the fit.
burden the First Amendment rights of organizations that
receive any amount of revenue from foreign nationals. Such       United States Citizens. There also remains the legitimate
burdening stands in contrast to the ways district courts have    concern relating to joint accounts owned by both citizens
handled similarly situated organizations when the foreign        and lawful permanent residents. The district court noted that
contributions are minimal. See Central Main Power Co.            “Plaintiff Peter Quilligan's situation illustrates the statute's
v. Maine Commission on Governmental Ethics & Election            overbreadth.” (R. 32, Op. & Order, Page ID# 1182). Quilligan
Pracs., No. 23-cv-00450, ––– F.Supp.3d ––––, 2024 WL             is a citizen and is married to Plaintiff Elisa Bredendiek, a
866367 (D. Me. Feb. 29, 2024) (enjoining law addressing          lawful permanent resident. They share a joint bank account.
foreign influence because the law would prohibit a substantial   A plain reading of the statute suggests that “[i]f he were
amount of protected speech despite only minimal foreign          to expend or contribute with money from the joint bank
participation and because the law could not be reconciled with   account he shares with his ... wife, then he would have
Citizens United as it would deprive U.S. citizen shareholders    violated Division C of Section 121.” (Id.). True, the Ohio
of their First Amendment right to engage in campaign             Administrative Code provides that “[a]bsent evidence to
spending.); see also Minnesota Chamber of Commerce v.            the contrary, any contribution made from a joint checking
Choi, 707 F. Supp. 3d 846 (D. Minn. 2023) (reaching the          account or by other written instrument shall be reported
same conclusion about a law banning expenditures and             as a contribution by the person signing or endorsing the
contributions if one foreign investor owned 1 percent or more    joint check or other written instrument.” Ohio Admin. Code
of the company or two or more foreign investors owned 5          111:2-4-14. But how a contribution may be reported for
percent or more.).                                               administrative purposes does not directly address whether the
                                                                 contribution is lawful.
In an apparent attempt to evade this flaw, § 121 draws
a distinction between those nonprofit organizations and          The words “[a]bsent evidence to the contrary” are freighted.
corporations. The majority and Ohio acknowledge the              In briefing, Ohio does not clarify whether the person, a United
differences, here, but excuse them. Parsing the law this         States citizen, endorsing a check from a joint account will
way, however, permits Ohio to seemingly honor the First          come under any civil or criminal scrutiny. The law's phrasing
Amendment rights of some—e.g. corporations with some             certainly leaves open the possibility that Ohio will rigorously
foreign influence—but not others—e.g. domestic nonprofit         question the authenticity and accurateness of checks from
organizations—even when they are similarly situated. It is       joint accounts. Accordingly, citizens could be pursued civilly
unpersuasive that these organizations are so different from      or criminally for exercising their First Amendment rights to
corporations, who can also make political contributions, that    political speech. Even if they are ultimately cleared of any
they should be treated differently pursuant to § 121. The OEA    wrongdoing, such state action is unnecessarily burdensome
is correct that this is the very danger the First Amendment is   and could chill speech.
meant to protect against—“allowing speech by some but not
others.” Citizens United, 558 U.S. at 340, 130 S.Ct. 876.        Each of the above examples demonstrate that § 121 is
                                                                 not narrowly tailored to the state's compelling interest
 *18 The majority asserts that crediting the OEA's argument      because less burdensome alternatives for restricting foreign
leads to being “[o]verinclusive if you do, underinclusive if     influence over the political process exist. Accordingly, this
you don't.” Majority Op. at ––––. But that is not the case.      law appears unlikely to pass strict scrutiny. The same
The root of the problem with § 121 is its inclusion of LPRs      examples demonstrate that § 121 also is not closely drawn



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to the actual interest it is meant to serve. Buckley, 424          the state.”) (cleaned up). The answer to such a question
U.S. at 42, 96 S.Ct. 612 (holding that interferences in            necessarily circles back to Ohio's likelihood of success on
First Amendment association requires a State demonstrate           the merits when the constitutionality of the law is being
“a sufficiently important interest and employs means closely       challenged. Similarly, the “merged” third and fourth factors
drawn to avoid unnecessary abridgment of associational             offer no help. Nken, 556 U.S. at 435, 129 S.Ct. 1749. The
freedoms.”); Schickel, 925 F.3d at 873 (6th Cir. 2019)             government has no interest in enforcing unconstitutional
(explaining that closely drawn requires “a fit...that represents   laws, and “[l]ikewise, the determination of where the public
not necessarily the single best disposition but one whose          interest lies also is dependent on a determination of the
scope is ‘in proportion to the interest served.’ ” (quoting,       likelihood of success on the merits of the First Amendment
McCutcheon, 572 U.S. at 218, 134 S.Ct. 1434 (2014))).              challenge because ‘it is always in the public interest to
Citizens United, 558 U.S. at 327, 130 S.Ct. 876 (“First            prevent the violation of a party's constitutional rights.’ ”
Amendment standards ... must give the benefit of any doubt         Connection Distrib. Co. v. Reno, 154 F.3d 281, 288 (6th Cir.
to protecting rather than stifling speech.”) (internal quotes      1998) (quoting G & V Lounge, Inc. v. Mich. Liquor Control
omitted).                                                          Comm'n, 23 F.3d 1071, 1079 (6th Cir. 1994)). Thus, Ohio's
                                                                   low likelihood success on the merits counsels against issuing
 *19 As the district court aptly noted, it is “absurd to allow     a stay.
(or force) [lawful permanent residents] to fight and die for
this country, on the one hand, and to prohibit them from
making incidental expenditures for a yard-sign that expresses
                                                                                                 IV.
a view on state or local politics, on the other.” (R. 32, Op.
& Order, Page ID# 1182). And it is not apparent how the            Lastly, the Purcell principle likely does not apply here. See
remaining provisions of § 3715.121 inadequately remedy at          Purcell v. Gonzalez, 549 U.S. 1, 127 S.Ct. 5, 166 L.Ed.2d
least some of the government's stated concerns; a foreign          1 (2006) (per curiam). Ohio asserts that Purcell applies in
national corporation is no more able to give money to a lawful     its favor, noting that both this court and the Supreme Court
permanent resident than to a citizen. See Ohio Rev. Code §         have stayed injunctions of state laws regarding signature
3517.121(A)(2), (B), (C), (D).                                     requirements for ballot-initiative petitions. (Doc. 15, Mot., 6–
                                                                   7 (citing Little v. Reclaim Idaho, ––– U.S. ––––, 140 S. Ct.
The above-noted instances of exclusion of LPRs from                2616, 207 L.Ed.2d 1141 (2020); Thompson, 959 F.3d 804 (6th
expenditure restrictions in federal law raise the question         Cir. 2020) (order) (per curiam)).
whether this class of noncitizens wields the corrupting
influence Ohio's law seeks to tackle. Since the interest of        However, this case shares more in common with Boone Cnty.,
limiting foreign influence in Ohio's political process can be      where this court—without regard to Purcell—enjoined the
met without abridging the rights of an entire category of right-   Kentucky agency tasked with investigating and prosecuting
holders, it is difficult to say that it is closely drawn.          campaign-finance violations from enforcing its advisory
                                                                   opinion against plaintiff-executive committees for raising or
                                                                   expending funds in support of a constitutional amendment
                              III.                                 on the November ballot. ––– F.4th ––––, 2024 WL 4048630;
                                                                   but see Lair v. Bullock, 697 F.3d 1200, 1214 (9th Cir.
The remaining factors do not change the result here.               2012) (granting a stay pending appeal of the district court's
Thompson v. Dewine, 959 F.3d 804, 807–08 (6th Cir. 2020)           injunction enjoining Montana from enforcing its campaign
(quoting Obama for Am. v. Husted, 697 F.3d 423, 436                contribution limits).
(6th Cir. 2012)) (“When evaluating [the stay] factors for an
alleged constitutional violation, ‘the likelihood of success        *20 The core concerns underlying Purcell relate to the
on the merits often will be the determinative factor.’ ”).         “risk of voter confusion and the unfairness of unexpected
Any irreparable injury to Ohio rests on whether the law it         administrative burdens.” Tenn. Conf. of the NAACP v. Lee,
seeks to enforce is constitutional. See Thompson, 959 F.3d at      105 F.4th 888, 897 (6th Cir. 2024). A law not even touching
812 (“Unless the statute is unconstitutional, enjoining a state    voting rights—or seeking to regulate voters for that matter—
from conducting its elections pursuant to a statute enacted        does not address those concerns.
by the Legislature ... would seriously and irreparably harm



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Because Ohio has not shown that it is likely to demonstrate
a strong likelihood of success on the merits, I would deny a   --- F.4th ----, 2024 WL 4441458
stay of the district court's injunction.




                                                       Footnotes


1      In any event, the district court was wrong to suggest that Purcell might cut against Ohio. According to the
       district court, it was § 121 that upset the legal status quo on the eve of an election: “The Court's injunction
       merely makes Ohio law consistent with the federal law and consistent with what Ohio law has been.” R. 40,
       Pg. ID 1277. But Purcell constrains the equitable powers of the federal courts, not the sovereign powers of
       state legislatures. See Republican Nat'l Comm. v. Democratic Nat'l Comm., 589 U.S. 423, 424, 140 S.Ct.
       1205, 206 L.Ed.2d 452 (2020) (per curiam) (explaining that “lower federal courts” must not alter rules for an
       upcoming election). To reason that Purcell somehow constrains a state legislature's power to set rules would
       “turn Purcell on its head.” Democratic Nat'l Comm. v. Wis. State Legislature, ––– U.S. ––––, 141 S. Ct. 28,
       31, 208 L.Ed.2d 247 (2020) (Kavanaugh, J., concurring in denial of application to vacate stay).

2      And congressional bills have proposed broadening the definition of “foreign national” under federal law
       to include lawful permanent residents. See, e.g., Jessica S. Horrocks, Campaigns, Contributions and
       Citizenship: The First Amendment Right of Resident Aliens to Finance Federal Elections, 38 B.C. L. Rev.
       771, 774 (1997) (citing one such 1997 proposal).

3      The dissent believes that because Ohio is the first state to include lawful permanent residents in its definition
       of foreign nationals, the law is doomed. See Dissent at ––––. It's true that a regulation's novelty can sometimes
       serve as circumstantial evidence of its unconstitutionality. See, e.g., Free Enter. Fund v. Pub. Co. Acct.
       Oversight Bd., 561 U.S. 477, 505–06, 130 S.Ct. 3138, 177 L.Ed.2d 706 (2010). But a regulation might
       also be new because it addresses new facts. If the new regulation—like § 121—responds to new realities
       (like heightened worries about foreign influence on our elections) in the service of time-honored goals (like
       preventing foreign influence on our elections), that's a good indication that its novelty isn't evidence of any
       unconstitutionality.

4      The dissent points to United States v. Alvarez, 567 U.S. 709, 132 S.Ct. 2537, 183 L.Ed.2d 574 (2012), in
       support of its demand for hard evidence. Dissent at –––– n.6. But in Alvarez, the alleged “common sense”
       justification that the government offered in support of the Stolen Valor Act was speculative: It didn't necessarily
       follow that “false representations have the tendency to dilute the value and meaning of military awards.”
       Alvarez, 567 U.S. at 726, 132 S.Ct. 2537 (quoting Br. for United States at 54). So, the Supreme Court
       demanded hard evidence in support of this speculative argument. Id. Not so here: It does directly follow that
       preventing foreign spending on Ohio elections helps prevent foreign influence on Ohio elections.

5      The dissent points out that § 121 allows corporations with some foreign influence to spend money in elections
       but not domestic non-profit organizations that receive money from non-citizens. Dissent at ––––. But the
       dissent misses a key distinction: Shareholders are owners of a corporation, while donors merely contribute
       to a nonprofit. So non-profits can segregate funds from non-citizen donors but corporations can't cordon off
       non-citizen shareholders.

1      Nken's prescription for a “strong showing,” irrespective of whether the bar for a stay on appeal is lower than
       the bar for injunctive relief on appeal, underscores the fact that a stay is an extraordinary remedy. Nken, 556


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       U.S. at 437, 129 S.Ct. 1749 (Kennedy, J. concurring) (citing Virginian R. Co. v. United States, 272 U.S. 658,
       672-673, 47 S.Ct. 222, 71 L.Ed. 463 (1926).

2      While Ohio certainly has a right to legislate with “foresight,” caselaw has made clear that a government's
       proactive measures must be tied to evidence. McCutcheon, 572 U.S. at 206, 134 S.Ct. 1434. The majority's
       reliance on Munro could benefit from its fuller context. Munro provides that states “should be permitted to
       respond to potential deficiencies in the electoral process with foresight rather than relatively, provided that
       the response is reasonable and does not significantly impinge on constitutionally protected rights.” Munro v.
       Socialist Workers Party, 479 U.S. 189, 195-96, 107 S.Ct. 533, 93 L.Ed.2d 499 (1986) (emphasis added). §
       121's total ban on LPR contributions is a significant abridgment of their First Amendment rights, evidenced
       by the rigorous scrutiny assessments required. McCutcheon, 572 U.S. at 199, 134 S.Ct. 1434; Cruz, 596
       U.S. at 307, 142 S.Ct. 1638.

3      U.S. Citizenship and Immigration Services, Rights and Responsibilities of a Green Card Holder (Permanent
       Resident), https://www.uscis.gov/green-card/after-we-grant-your-green-card/rights-and-responsibilities-of-
       a-green-card-holder-permanent-resident (last updated July 15, 2015) (describing rights of permanent
       residents to include the right to be “protected by all laws of the United States, your state of residence and
       local jurisdictions”).

4      See F.E.C. Website (providing that “a United States domestic corporation that is a subsidiary of a foreign
       corporation may establish and administer a separate segregated fund which can make contributions to federal
       candidates as long as ... [a]ll decisions concerning the administration of the domestic subsidiary's separate
       segregated fund are made by U.S. citizens or permanent residents.) (emphasis added). https://www.fec.gov/
       help-candidates-and-committees/foreign-nationals/.

5      Further, the 25-year-old congressional bill referenced by the majority was never passed by Congress despite
       FECA having been amended and adjudicated several times since then. Majority Op. at –––– n.2, ––––. To
       date, no legislative event has led to a change in the definition of foreign national to include lawful permanent
       residents.

6      The majority suggests that requiring Ohio to provide more than speculation is to require “evidence of the
       obvious.” Majority Op. at –––– n.4. This ignores how legislatures and courts have historically treated LPRs
       and the rather straightforward requirement for the state to show that its “restriction on the speech at issue
       be ‘actually necessary’ to achieve its interest.” United States v. Alvarez, 567 U.S. 709, 725, 132 S.Ct. 2537,
       183 L.Ed.2d 574 (2012) (citing Brown v. Entertainment Merchants Assn., 564 U.S. 786, 799, 131 S.Ct.
       2729, 180 L.Ed.2d 708 (2011)). Absent such evidence, nothing is obvious about LPRs being the source of
       Ohio's concerns. Speculative fear does not satisfy either intermediate or strict scrutiny. McCutcheon, 572
       U.S. at 206, 134 S.Ct. 1434. We must respect the legislature's responsibility to legislate while also protecting
       the constitutional rights of those to whom they have been extended. Abridging First Amendment freedoms
       requires some level of factual basis to support doing so. Alvarez, 567 U.S. at 725-26, 132 S.Ct. 2537 (refusing
       to allow First Amendment restrictions purely on the basis of “common sense” and requiring the government
       point to “evidence to support its claim that” its proposed action furthers its interest in a meaningful way.).

7      The majority's distinction between foreign influence from domestic corporations versus domestic non-profit
       organizations is puzzling. See Majority Op. at –––– n.5. Whether the influence be through foreign-investor-
       provided funding or foreign dues seems irrelevant to this analysis. As the district court noted in Choi, courts
       have limited the scope of legislation restricting the speech of organizations in the interest of limiting foreign
       influence to “corporations or associations that were created in foreign countries or funded predominately
       by foreign shareholders.” Choi, 707 F. Supp. 3d at 860 (citing Citizens United, 558 U.S. at 362, 130 S.Ct.
       876). The point here is that de minimis influence, whether that money be contributed through investments or




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       dues, is not enough to justify chilling and abridging the freedom of speech of entities and individuals. Id. The
       organizations’ respective abilities to segregate funds is a distinction of minimal consequence.



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